   USCA Case #24-1120     Document #2087982                    Filed: 12/04/2024   Page 1 of 29
            Set for ORAL ARGUMENT on DECEMBER 6, 2024

                           No. 24-1120 (and consolidated cases)
                                    ______________________________________


             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                _______________________________________

                              STATE OF WEST VIRGINIA, et al.,
                                                                              Petitioners,
                                                     V.

                       ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                                           Respondents.
                        ______________________________________
              On Petitions for Review of Final Agency Action of the
                United States Environmental Protection Agency
                        89 Fed. Reg. 39,798 (May 9, 2024)
                      ______________________________________

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USCA Case #24-1120            Document #2087982                 Filed: 12/04/2024         Page 12 of 29



                                 TABLE OF CONTENTS
                                                                                             Page(s)

TABLE OF AUTHORITIES ......................................................................... i

GLOSSARY OF TERMS............................................................................... i

The pipeline construction needed to achieve 40% co-firing cannot be
accomplished by 2030, as the Rule requires .............................................. 1

                               TABLE OF AUTHORITIES
Cases

City of Port Isabel v. FERC, 111 F.4th 1198 (D.C. Cir. 2024) .................. 1

Motor Vehicle Mfrs. Assn. v. State Farm Mutual Auto. Ins.
Co., 463 U.S. 29 (1983) ................................................................................ 4

                                 GLOSSARY OF TERMS

Bcfd ....................................................................... Billion cubic feet per day

EPA ................................................ U.S. Environmental Protection Agency

ICF .................................................................................... ICF International




                                                    i
USCA Case #24-1120    Document #2087982        Filed: 12/04/2024   Page 13 of 29



The pipeline construction needed to achieve 40% co-firing
cannot be accomplished by 2030, as the Rule requires.

      Petitioners explained why the Rule’s three-year estimate for

permitting and construction of necessary pipelines is unrealistic and

flawed. In its Supplemental Brief, EPA never convincingly responds.

      Based on a review by ICF International (“ICF”), EPA projects that

the permitting and construction of the pipelines necessary for 40% co-

firing will “take no more than 3 years for most sources (June 2026 to

June 2029).” Supp. Br. 1 (citing JA 0096 (89 Fed. Reg. 39,798, 39,893

(May 9, 2024))). ICF did say that the average permitting and

construction time for lateral pipelines “is about three years.” But ICF

also cautioned that “some projects could take … up to five years for

approval and construction if they experience difficulties.” JA6273 (GHG

Mitigation Measures-Steam TSD, Att. 18 at 42) (emphasis added)). EPA

ignored that longer timeline. See Pet. Br. 122-23.

      Even ICF’s five-year timeline is optimistic. As this Court knows,

pipelines routinely do experience difficulties in obtaining the required

permits. See, e.g., City of Port Isabel v. FERC, 111 F.4th 1198, 1204-06

(D.C. Cir. 2024) (Garcia, J.) (permit application filed in 2016 for still-

unconstructed pipeline connecting new fuel terminal to existing pipeline
                                      1
USCA Case #24-1120   Document #2087982       Filed: 12/04/2024   Page 14 of 29



and summarizing lengthy history of challenges); JA2716-17 (NRECA-

EERC Comments 11-12); JA2046 (PGen Comments 35 & n.128). So, it is

quite possible—indeed, likely—that permitting and construction for a

necessary pipeline would take five years, as ICF cautioned (or even

longer). And ICF’s optimistic five-year timeline would extend EPA’s

anticipated pipeline completion date from June 2029 to June 2031—a

year and a half after compliance begins.

      Under these circumstances, the possibility of “a compliance date

extension” would not save the day. Contra Supp. Br. 2. Even if a coal

plant could get one—no guarantee—an extension cannot exceed one

year (i.e., until January 1, 2031). JA0217 (89 Fed. Reg. at 40,014

(“States may incorporate into their state plans a mechanism that allows

compliance date extensions up to 1 year … under specific

circumstances” (emphases added)). If permitting and construction take

up to five years, as ICF warned, the one-year extension will not enable

the pipeline to be completed before compliance is required.

      EPA’s timetable is also flawed because EPA assumed that only

lateral pipelines would be needed for 40% co-firing. JA0096 (89 Fed.

Reg. at 39,893 & n.682 (mentioning laterals 13 times, including


                                    2
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 15 of 29



“construction of a lateral pipeline,” estimated costs for “new lateral

pipeline capacity,” and assessment of “each assumed new lateral”)).

Because laterals connect to an already-existing nearby pipeline, they

tend to be shorter than non-lateral pipelines (taking less construction

time) and not as controversial (taking less permitting time). See Pet. Br.

124. Yet nothing shows all the necessary pipeline projects can be

laterals.

      EPA notes ICF reviewed “both lateral and non-lateral pipelines.”

Supp. Br. 2. But while ICF might have reviewed some “non-lateral

projects that solely serve power plants,” JA6272 (GHG Mitigation

Measures-Steam TSD, Att. 18 at 41), ICF’s “assessment estimates the

length of time required to develop, permit, and construct natural gas

pipeline laterals to coal plants,” id. (emphasis added)); see also JA6273

(Id. at 42) (concluding “the average time … to design, permit, and

construct laterals to coal plants is about three years”) (emphasis

added)). In failing to correctly assess the amount of time necessary for

all facilities to obtain natural gas—including those needing a non-

lateral pipeline—EPA arbitrarily and capriciously failed “to consider an




                                     3
USCA Case #24-1120   Document #2087982       Filed: 12/04/2024   Page 16 of 29



important aspect of the problem.” Motor Vehicle Mfrs. Assn. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

      EPA concludes, again relying on ICF, that the gas industry can

place into service “sufficient gas pipelines for sources to comply with the

Rule” by 2030. Supp. Br. 2. ICF “assess[ed] aggregate annual levels of

pipeline development from 2015 through 2021.” JA6268 (GHG

Mitigation Measures-Steam TSD, Att. 18 at 37). Its analysis showed

“that, on average per year, there were 36 individual pipeline projects

(i.e., 254 total projects over the seven-year period) completed with a

mileage of 1,200 miles and an aggregate capacity of about 14 [billion

cubic feet per day (Bcfd)].” Id. The Rule’s expected pipeline buildout

greatly exceeds this average both in project numbers (93 vs. 36) and

miles of pipeline (1,778 vs. 1,200). Id. Only expected pipeline capacity

(7.35 Bcfd) is within the 7-year average ICF calculated. Id.

      Indeed, none of the years examined came anywhere close to

completing the 93 annual projects the Rule contemplates. The

maximum occurred in 2018, when 55 projects were completed. JA6269

(Id. at 38, Figure 7). Similarly, pipeline miles exceeded the 1,778

annual miles the Rule would require in only one year (2017). Id.


                                     4
USCA Case #24-1120     Document #2087982        Filed: 12/04/2024   Page 17 of 29



      In short, the record does not support EPA’s imagined three-year

timeline for constructing a vast, nationwide natural-gas pipeline

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USCA Case #24-1120   Document #2087982         Filed: 12/04/2024   Page 19 of 29



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                                     7
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                                   8
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                                     9
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 22 of 29



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                                   10
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 23 of 29



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                                   11
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 24 of 29



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                                   12
USCA Case #24-1120     Document #2087982        Filed: 12/04/2024   Page 25 of 29



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                                     13
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 26 of 29



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                                   14
USCA Case #24-1120   Document #2087982           Filed: 12/04/2024   Page 27 of 29



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                                      15
USCA Case #24-1120   Document #2087982        Filed: 12/04/2024   Page 28 of 29



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                                   16
USCA Case #24-1120    Document #2087982        Filed: 12/04/2024   Page 29 of 29



                 CERTIFICATE OF COMPLIANCE

      This Supplemental Brief complies with the type-volume limit of the

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Dated: December 4, 2024                   /s/ Michael R. Williams
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